Case 2:04-cv-02561-tmp Document 32 Filed 05/02/05 Page 1 of 4 Page|D 46

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IN THE UNITED STATES DISTRICT COURT ` ' D.o.
FOR THE WESTERN DISTRICT OF TENNESSEE 95 f-L-$'r' _
MEMPHIS DIVISIoN 2 B-H lU-' 38
~.‘1- f-\FEMPH;S
KAYSWEENEY, )
)
Pmmnm )
) Case No. 2:04-cv-2561 TMP
vs. )
)
RrvER WAFFLES, LLC and )
_MARKETPLACEINVESUMENT& )
LLC, )
)
Defendants. )
0RDER

Upon Motion of the Defendants pursuant to Local Rule 7.2, and there being no
objection and for good cause shown, it is hereby ORDERED that the time for
Defendants to respond to Plaintiff’ S Supplemental Brief in support of her Motion to

Amend be and hereby is granted and Defendants shall respond by May 6, 2005.

ENTER: S'/| '/03""
BoN¢d:B-H-héée-»

UNITED STATES MAGISTRATE ]UDGE

Tnis document entered on the docket sheet in compliance
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Approved for Entry:

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'Attorney for Plaintiff " 7\ mg _
5133 Harding Road, #112 /L»H,M,,.___ TZ»\ L__ _<_/. .

Nashvine, TN 37205 / // `" ` v 1 ft " '
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Joe b Manuel, BPR #006119

At mey for Defenda;nt

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('423) 266~3535

 

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CERTIFICATE OF SERVICE

I hereby certify service of this document 15 authorized by the F ederal Rules of
Civil Procedure to:

John Page Garrett, Esquire
5]33 Harding Road, #112
Nashville, TN 37205

On the 3 2005 ____

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Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CV-02561 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

 

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Honorable Tu Pham
US DISTRICT COURT

